Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 1 of 68



                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                                 CIVIL CASE NO. 17-CV-20158
                         (CRIMINAL CASE NO. 12-20496-CR-MARTINEZ)

    THOMAS KEELAN,

           Petitioner,

                  V.

    UNITED STATES OF AMERICA,

           Respondent.


                          MEMORANDUM IN SUPPORT OF PETITION
                          TO VACATE CONVICTION AND SENTENCE

           The Petitioner, THOMAS KEELAN, through undersigned counsel, respectfully

    files this Memorandum in Support of his Petition to Vacate Conviction and Sentence

    pursuant to 28 U.S.C. § 2255.          For the reasons set forth herein, Mr. Keelan's

    convictions and sentence should be vacated; to the extent that he is not entitled to have

    his convictions and sentence permanently annulled, he seeks a new trial and/or

    sentencing proceeding; to the extent the Court declines to grant this motion as a matter

    of law, Mr. Keelan asserts his right to an evidentiary hearing to demonstrate his

    entitlement to the relief sought herein.

                                I. PROCEDURAL BACKGROUND

           On June 29, 2012, a grand jury in the Southern District of Florida returned a two­

    count Indictment. (DE 7). Count One charged Mr. Keelan with using a means of

    interstate commerce (the Internet and a cellular telephone) to knowingly persuade,
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                                 LAW OFFICES OF PAUL D. PETRUZZI, P.A.
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 2 of 68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 3 of 68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 4 of 68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 5 of 68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 6 of 68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 7 of 68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 8 of 68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 9 of 68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 10 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 11 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 12 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 13 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 14 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 15 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 16 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 17 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 18 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 19 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 20 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 21 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 22 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 23 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 24 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 25 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 26 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 27 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 28 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 29 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 30 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 31 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 32 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 33 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 34 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 35 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 36 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 37 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 38 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 39 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 40 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 41 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 42 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 43 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 44 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 45 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 46 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 47 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 48 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 49 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 50 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 51 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 52 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 53 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 54 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 55 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 56 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 57 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 58 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 59 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 60 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 61 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 62 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 63 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 64 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 65 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 66 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 67 of
                                       68
Case 1:12-cr-20496-JEM Document 211-1 Entered on FLSD Docket 01/13/2017 Page 68 of
                                       68
